          Case 07-11047-CSS      Doc 6158-9     Filed 09/30/08   Page 1 of 3




                IN THE UNITED STATES BANKRUPTCY COURT
                  IN AND FOR THE DISTRICT OF DELAWARE

American Home Mortgage,             )      Case No. 07-11047 CSS
      et al.,                       )      Chapter 11
                                    )      Jointly Administered
                                    )      Hearing: November 12, 2008 @ 10:00 a.m.
               Debtors.             )      Response date: November 5, 2008


          CITIMORTGAGE INC.’S MOTION FOR RELIEF FROM
        THE AUTOMATIC STAY PURSUANT TO 11 U.S.C. §362 (d) (1)
    AS TO 1051 ROCK SPRINGS ROAD, ESCONDIDO, CALIFORNIA 92026

         NOW COMES CitiMortgage, Inc., by and through its attorneys, Whittington &

Aulgur, and moves the Court for an Order granting relief from the Automatic Stay of 11

U.S.C. §362 upon the following grounds:

JURISDICTION

         1.    The Bankruptcy Court has jurisdiction over this matter pursuant to 28

U.S.C. §1334, 11 U.S.C. §157 and 11 U.S.C. §362.

CLAIM FOR RELIEF

         2.    CitiMortgage is a corporation located at P.O. Box 140334 Coppell, Texas

75014.

         3.    On August 6, 2007 a Chapter 11 Petition initiating this proceeding was

filed by the Debtors.

         4.    On May 24, 2006, non-filing borrower, Guillermo A. Martinez Bahena,

(hereinafter “Borrower”) executed and delivered a Deed of Trust (hereinafter “Deed of

Trust 1”) in the principle sum of $185,500.00 unto Mortgage Electronic Registration

Systems, Inc. as nominee for the Lender, American Home Mortgage. Said Deed of Trust

1 created a lien upon the property therein mentioned, 1051 Rock Springs Road,
        Case 07-11047-CSS             Doc 6158-9   Filed 09/30/08     Page 2 of 3




Escondido, CA 92026, (hereinafter the “Property”) all of which is on record in the

Recorder’s Office of San Diego County, California. A copy of said Deed of Trust is

attached hereto as Exhibit ‘A”. On the same date the Borrower executed a Note, a copy

of which is attached hereto as Exhibit “B”.

       5.      On May 26, 2006 Mortgage Electronic Registration Systems, Inc., as

nominee for the Debtor, American Home Mortgage, assigned, and transferred the Deed

of Trust to Movant, CitiMortgage, Inc., a copy of which is attached hereto as Exhibit “C”.

       6.      On May 24, 2006 Borrower executed and delivered another Deed of Trust

(hereinafter “Deed of Trust 2”) in the principle sum of $79,500.00 unto Mortgage

Electronic Registration Systems, Inc. as Nominee for the Debtor, American Home

Mortgage. Said Deed of Trust 2 created a lien in second position on the Property as set

forth in a Commitment for Title Insurance, a copy of the pertinent portions of which are

attached hereto as Exhibit “D”. Upon information and belief the Debtor still holds this

Deed of Trust 2.

       7.      Debtors have no ownership interest in the Property, and their lien if any is

subordinate to Movant’s.

       8.      At present, Borrower is contractually delinquent and Movant seeks to

exercise its contractual rights and remedies with respect to the Deed of Trust 1.

       9.      The payoff amount on the subject Deed of Trust 1 through October 30,

2008 is approximately $196,842.24. The Property has an “as is” estimated value of

$180,000.00 as set forth on the Broker’s Price Opinion attached hereto as Exhibit “E”.

After taking into account costs of sale and DOT 2 with a principal amount of $79,500.00

there is no equity in the Property.
        Case 07-11047-CSS         Doc 6158-9     Filed 09/30/08       Page 3 of 3




       10.    Any potential equity would not benefit the Debtors’ Estate since the

Debtors holds no ownership interest in the Property and the Property is not necessary for

the Debtors’ reorganization.

       11.    The continuation of the Automatic Stay of 11 U.S.C. §362 will work real

and irreparable harm upon Movant and therefore cause exists to vacate the stay to permit

Movant to exercise its non-bankruptcy contractual rights and remedies against Borrowers

and the Property.

       WHEREFORE, CitiMortgage, Inc. hereby moves for an Order pursuant to 11

U.S.C. §362 (d) (1) terminating the Automatic Stay for cause.

                                     WHITTINGTON & AULGUR



                                     /s/ Kristi J. Doughty
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Dated: September 30, 2008
